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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
_______________________________________


UNITED STATES OF AMERICA

       v.
                                                     Criminal No. 18-10402-RWZ
DWAYNE LEASTON-BROWN,

                Defendant.


             GOVERNMENT’S OPPOSITION TO MOTION TO SUPPRESS,
                    AND REQUEST TO CANCEL HEARING

       The defendant Dwayne Leaston-Brown has moved to suppress the physical evidence (i.e.,

the firearm and five rounds of ammunition found loaded inside it) recovered by the Boston Police

Department after he tripped and fell to the ground, and it fell from his person, as he ran away from

a police officer at around 5:30pm on September 8, 2018 in Mattapan Square. Because the gun fell

from the defendant’s person in plain view prior to the defendant’s stop by police, and its

incriminating character was immediately apparent to the officers, the seizure of the gun and

ammunition was proper under the plain view doctrine. Moreover, even if the stop had occurred

just prior to the defendant’s fall, as the defendant suggests, there was ample reasonable suspicion

at that point justifying a stop. Leaston-Brown’s reckless and erratic running through a busy

Mattapan Square, holding his hand in his right pocket, handling a silver item in his right hand in a

manner consistent with a firearm, returning the item to his pocket upon observing police, refusing

to speak to police, ignoring a police officer’s command to stop, and reversing direction to run away

from a chasing police officer all justified Officer Taylor’s reasonable suspicion that criminal

activity might be afoot and justified a Terry stop. The defendant’s Motion should be denied and

the hearing scheduled for June 11 should be cancelled, or marked as non-evidentiary.
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                                        BACKGROUND1

       Around 5:30pm on Saturday, September 8, 2018, Officer Kimber Taylor was in the

Mattapan area in a marked Boston Police Department cruiser, when he observed a black male

wearing a red and black hoodie, later identified as Dwayne Leaston-Brown, running up

Cummins Highway away from River Street, with his right hand in his hoodie pocket. Report at

5. Leaston-Brown continued to look backwards over his left shoulder, and appeared to be in

fear. Id. As he ran, he ran into a customer outside the America’s Food Basket at 926 Cummings

Highway, then ran through the Food Basket parking lot, exiting onto Fairway Street in the

direction of Blue Hill Ave. Id.; Ex. 1 at 1; Ex. 2 at USAO033-34. Officer Taylor made a U-turn

on Cummins Highway and a right onto Fairway Street to follow Leaston-Brown. Ex. 1 at 1.

       While Leaston-Brown was running on Fairway Street, Officer Taylor observed a silver

item in his right hand, which Officer Taylor believed to be a firearm based on how Leaston-

Brown was holding it. Ex. 1 at 1. Leaston-Brown looked back, saw the police car, and placed

the item back into his right pocket. Ex. 1 at 1-2. Officer Taylor activated his blue lights, pulled

up next to Leaston-Brown on Fairway Street by the Santander Bank, and said, “Yo, can I talk to

you?” Ex. 1 at 2; Ex. 2 at USAO027. Leaston-Brown did not stop, but ran through traffic across

Blue Hill Ave. from the inbound side to the outbound side, keeping his right hand inside the right

pocket of his hoodie. Ex. 1 at 2; Ex. 2 at USAO028.


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  Below, the government summarizes the factual background of the events leading to the charges
in this case, relying mainly upon the Boston Police Incident report (“Report”) that the defendant
relies upon and submits with his motion. The government further submits the Forms 26 of Officer
Kimber Taylor (Exhibit 1 hereto) and Leslie Joseph-Greene (Exhibit 2 hereto), which supplement
the Report, and which the government expects the officers would testify consistently with, were
there an evidentiary hearing in this case. However, as set out further below, there is no need for
an evidentiary hearing as there is no factual dispute. United States v. Brown, 621 F. 3d 48, 57-58
(1st Cir. 2010).

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       Officer Taylor turned left onto Blue Hill Ave., where he saw Leaston-Brown stumble and

fall to the ground in the outbound lanes just past the median, keeping his right hand in his pocket

and bracing his fall with his left hand. Ex. 1 at 2; Ex. 2 at USAO028. Officer Taylor stopped

and exited his cruiser, said, “Boston Police, stop running,” and ran after him. Ex. 1 at 2.

Leaston-Brown got up and ran back through the inbound traffic and onto the sidewalk. Id. As

he was running in front of the Santander Bank at 1617 Blue Hill Ave. in Mattapan, he tripped

and fell. Id.; Ex. 2 at USAO029. When Leaston-Brown fell to the ground, a silver and black

firearm fell from his person, landing on the ground (pavement) in front of him and to his right.

Ex. 1 at 2. After Leaston-Brown fell, Officer Taylor caught up with him, got on top of him, and

tried to prevent him from getting up or reaching for the firearm, but Leaston-Brown continued to

struggle with him. Id.; Ex. 2 at USAO029.

       Meanwhile, Det. Leslie Joseph-Greene had been in the area, off-duty, riding in a

passenger seat of a private vehicle on Blue Hill Ave. inbound near Santander Bank, when he

observed Officer Taylor chasing Leaston-Brown. Ex. 2 at USAO027. Based on what he

observed, Det. Joseph-Greene believed that Leaston-Brown was armed. Ex. 2 at USAO028. He

saw Officer Taylor get on top of Leaston-Brown, and exited the vehicle he was riding in and ran

over to see if he could assist. Ex. 2 at USAO029. When he arrived where Officer Taylor and

Leaston-Brown were, he saw the firearm on the ground by Leaston-Brown, and saw that

Leaston-Brown was still struggling with Officer Taylor and that a crowd was beginning to form.

Ex. 2 at USAO030. Det. Joseph-Greene identified himself to Officer Taylor, picked up the gun

so that no one else would, and called for backup using Officer Taylor’s radio. Id.

       A few minutes later, backup arrived, and Leaston-Brown was transported to BPD District

3 for booking. Det. Joseph-Greene turned the firearm in to Det. Stephen O’Brien, who rendered



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it safe and discovered that it was a KahrArms model CM9, 9mm semi-automatic pistol, with

serial number IQ6852. Report at 6. He also determined that it had been loaded with a magazine

containing six 9mm Luger cartridges.

       Meanwhile, Boston Police had received reports of another suspect carrying a gun in the

same Mattapan Square area at the same time that Leaston-Brown was arrested. One bystander

told Officer Taylor that he had observed Leaston-Brown and another male pulling guns on each

other. Ex. 1 at 2-3. While Officer Taylor had been following Leaston-Brown, the other suspect

peeled off and discarded a black firearm in a trash bin at the Burger King parking lot. Officers

went to the Burger King parking lot and found a black Glock 43 in the trash bin. Ex. 1 at 3.

       Virtually the entire incident is captured on video, which has been produced to the

defense. Significant video surveillance evidence from numerous Mattapan Square businesses --

including from Mattapan House of Pizza, Santander Bank, Dunkin Donuts (directly across

Fairway Street from Santander), and America’s Food Basket -- captures the chain of events, from

the initial confrontation between Leaston-Brown and the other suspect at the Mattapan House of

Pizza through the chase and arrest of Leaston-Brown outside Santander Bank. See Ex. 2.

                                         ARGUMENT

       There was no Fourth Amendment violation, and no grounds for suppression, because the

defendant was not stopped until after Officer Taylor saw the gun fall from his person to the ground

in plain view, at which point there was both reasonable suspicion to stop him and probable cause

to arrest him under state law.

       Although before that time, Officer Taylor had attempted to conduct a brief investigatory

stop pursuant to Terry v. Ohio, 392 U.S. 1 (1968), ordering Leaston-Brown to stop as he weaved

through heavy traffic on Blue Hill Avenue on foot, his efforts were unsuccessful and the defendant



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was not stopped for Fourth Amendment purposes, as Leaston-Brown did not accede to Officer

Taylor’s show of authority. Cal. v. Hodari D., 499 U.S. 621, 626 (1991). Rather, as Officer Taylor

reports and surveillance video corroborates, Leaston-Brown tripped of his own accord prior to

Officer Taylor’s touching him, and the gun fell to the ground in plain view as he fell. Defendant

does not allege facts suggesting otherwise. Accordingly, the gun and ammunition were properly

seized pursuant to the plain view doctrine, and defendant’s motion should be denied without a

hearing. United States v. Cintron, 724 F.3d 32, (1st Cir. 2013) (“To obtain an evidentiary hearing

. . . [t]he burden is on the defendant to allege facts, sufficiently definite, specific, detailed, and

nonconjectural, to enable the court to conclude that a substantial claim is presented”) (quotations

and citations omitted).

       Moreover, even if the stop had occurred just before Officer Taylor saw the gun fall to the

ground, as defendant suggests (Motion at 3-4), at that point both a stop and a frisk were justified

under Terry. In Terry, the Court held:

       where a police officer observes unusual conduct which leads him reasonably to
       conclude in light of his experience that criminal activity may be afoot and that the
       persons with whom he is dealing may be armed and presently dangerous, where in
       the course of investigating this behavior he identifies himself as a policeman and
       makes reasonable inquiries, and where nothing in the initial stages of the encounter
       serves to dispel his reasonable fear for his own or others' safety, he is entitled for
       the protection of himself and others in the area to conduct a carefully limited search
       of the outer clothing of such persons in an attempt to discover weapons which might
       be used to assault him.

392 U.S. at 30. Here, the observation of Leaston-Brown’s reckless and erratic running through

Mattapan Square, holding his hand in his right pocket, handling a silver item in his right hand in a

manner consistent with a firearm, returning the item to his pocket upon observing police, refusal

to speak to police, ignoring a police officer’s command to stop, and reversing direction to run away

from a chasing police officer all constitute “unusual conduct” which led Officer Taylor reasonably



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to conclude that criminal activity might be afoot and Leaston-Brown might be armed and presently

dangerous both to himself and to the many people going about their lawful business in Mattapan

Square that afternoon, justifying a stop.

   I.      The Gun Fell in Plain View Prior to the Stop of Leaston-Brown and Its Seizure
           Was Justified Under the Plain View Doctrine

        Because the loaded gun fell in plain view of the police prior to Leaston-Brown’s stop, the

seizure of the gun and ammunition was valid under the plain view doctrine. The First Circuit has

held that the plain view doctrine has two requirements: (1) “that the officer did not violate the

Fourth Amendment in arriving at the place from which the evidence could be plainly viewed” and

(2) “that the evidence’s incriminating character [was] ‘immediately apparent’ to the officer.”

United States v. Hamie, 165 F.3d 80, 82 (1st Cir. 1999) (quoting Horton v. California, 496 U.S.

128, 136 (1990)). Here, both requirements are met.

        A. Officer Taylor Did Not Violate the Fourth Amendment In Arriving At the Point
           Where He Saw the Gun Fall In Plain View

        Contrary to the defendant’s argument that Officer Taylor unlawfully stopped him prior to

the gun’s falling, as a matter of law the defendant was not stopped until after the gun fell to the

ground and Officer Taylor first touched Leaston-Brown – here, by going down to the ground and

grabbing his arms behind him so that he could not reach the gun.

        Determining when a person is seized for Fourth Amendment purposes requires close

analysis of the facts. United States v. Taylor, 511 F.3d 87, 92 (1st Cir. 2007) (assessment of

whether a seizure took place is “highly fact-specific and must be performed on a case-by-case

basis”). Here, the initial interaction between Officer Taylor and Leaston-Brown was Officer

Taylor’s driving up beside Leaston-Brown and calling out, “Yo, can I talk to you?” These actions

– typical of interactions that take place on the street every day and are necessary for effective



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police work – simply have no Fourth Amendment implications. United States v. Young, 105 F.3d

1, 6 (1st Cir. 1997) (“Police may approach citizens in public spaces and ask them questions without

triggering the protections of the Fourth Amendment.”).

       Taylor’s calling out to Leaston-Brown in a casual tone does not convert a consensual

encounter into a stop. United States v. Smith, 423 F.3d 25, 30 (1st Cir. 2005) (no seizure when

two officers initially approached defendant in cruiser and then got out and asked questions which

resulted in seizure of firearm); United States v. Sealey, 30 F.3d 7 (1st Cir. 1994) (no seizure where

officer shouted “what’s up” and defendant ran); cf. United States v. Mendenhall, 446 U.S. 544,

554 (1980) (“a tone of voice indicating that compliance with the officer’s request might be

compelled” is relevant to whether a casual encounter morphed into a Terry stop requiring

reasonable suspicion). As the First Circuit noted in Smith,

       In Mendenhall, the Supreme Court made clear that “characterizing every street
       encounter between a citizen and the police as a ‘seizure,’ ... would impose wholly
       unrealistic restrictions upon a wide variety of legitimate law enforcement
       practices.” Id. at 554. Without the authority to approach and briefly question a
       citizen, “those who were innocent might be falsely accused, those who were guilty
       might wholly escape prosecution, and many crimes would go unsolved. In short,
       the security of all would be diminished. Id. (internal citations omitted).

       In order to avoid such an unsatisfactory result, the Court has made clear that only
       when a citizen’s freedom of movement is objectively restrained is there any
       foundation for invoking constitutional safeguards. Id. at 553.

423 F.3d at 28.

       Similarly, Officer Taylor’s exiting his cruiser, calling for Leaston-Brown to stop, and

running after Leaston-Brown on Blue Hill Ave., while indicative of a “show of authority,” do not

constitute a seizure because Leaston-Brown did not stop but rather continued to run away. See

Hodari D., 499 U.S. at 629 (assuming that chasing after a suspect on foot is a show of authority,

but finding no seizure because defendant did not yield to the show of authority).



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       Here, Leaston-Brown’s freedom of movement was not “objectively restrained” under

Mendenhall until after he tripped and fell, and Taylor got down to the ground and grabbed him

from behind to try to stop him from reaching for the firearm. United States v. Belin, 868 F.3d 43,

48 (1st Cir. 2017) (“we cannot conclude that [officer] had objectively communicated the use of his

official authority to restrain Belin until he grabbed Belin’s arm”).

       The Defendant pinpoints the stop as occurring at “the moment during the chase when

Officer Taylor made physical contact with Mr. Leaston-Brown or when Mr. Leaston-Brown fell,

whichever happened first.” Motion at 3-4 (citing Hodari D., 499 U.S. at 625, for the proposition

that “seizure occurs upon ‘slightest application of physical force’ or upon submission by the

arrestee to a show of authority”). Hodari D. does not stand for the proposition that when an

individual trips while running away from police that he has submitted to a show of authority, and

the defendant does not cite any other authority for such a proposition. Rather, in Hodari D., the

defendant ran away from police, police gave chase, and the defendant tossed a rock of crack

cocaine. 499 U.S. at 623. The officer then tackled the defendant and handcuffed him. The Court

held that the show of authority, including a command to stop, does not rise to the level of a seizure

unless the individual actually submits to the show of authority. Id. at 626 (“[The word seizure]

does not remotely apply . . . to the prospect of a policeman yelling, ‘Stop, in the name of the law!’

at a fleeing form that continues to flee. That is no seizure.”). Thus, the Court held that the

defendant was not seized until the moment the police officer tackled him – the first moment that

he touched him. Id. Similarly here, Leaston-Brown was not seized until Officer Taylor got on top

of him and grabbed his arms from behind.




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          Thus, Officer Taylor was lawfully present in front of the Santander Bank when he observed

the gun fall from Leaston-Brown’s person, and he had not committed a Fourth Amendment

violation to arrive there.

          B. The Gun’s Incriminating Character Was Immediately Apparent Under State Law

          The gun’s incriminating character was immediately apparent to the officer under state law.

In Massachusetts, both publicly carrying a firearm and possessing a firearm are presumed unlawful

unless the defendant produces evidence of a proper license to carry. A license is an affirmative

defense; the absence of such a license is not an element of the crime. See M.G.L. c. 269, § 10(a)(1),

(2), (h)(1); Commonwealth v. Jones, 361 N.E. 2d 1308, 1311 (Mass. 1977); Powell v. Tompkins,

783 F.3d 332 (1st Cir. 2015) (affirming denial of habeas due process challenge to Massachusetts

law on this point).

          Accordingly, at the moment the officer saw the gun fall from Leaston-Brown, he was

authorized under the plain view doctrine to seize the gun, and also had probable cause to arrest

Leaston-Brown for a state firearms violation. There was no Fourth Amendment violation.

    II.      Officer Taylor Had Reasonable Suspicion For a Stop Before the Gun Fell

          Even if the stop could be construed as occurring prior to the time Officer Taylor saw the

gun fall to the ground and prior to Officer Taylor’s grabbing Leaston-Brown from behind on the

ground, there was more than ample reasonable suspicion to stop Leaston-Brown by the time

Officer Taylor got out of his car in the Blue Hill Avenue outbound lane and started chasing

Leaston-Brown on foot – well before even the defendant argues the stop occurred.

          Because of the limited nature of Terry stops and their critical importance to effective law

enforcement, Terry requires only a showing that the police have some reasonable suspicion of

criminal activity. Id. at 28. This does not require probable cause, United States v. McCarthy, 77



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F.3d 522, 529 (1st Cir. 1996), that the defendant’s involvement in criminal activity be proven by

a preponderance of the evidence, see Alabama v. White, 496 U.S. 325, 329-30 (1990), that there

be “evidence of a direct connection linking the suspect to the suspected crime,” United States v.

Chhien, 266 F.3d 1, 6 (1st Cir. 2001), or even that the officer’s observations were “correct.”

Brown, 621 F.3d at 57. The government must simply point to “specific and articulable facts” that

would reasonably warrant an officer’s making the intrusion. E.g., Young, 105 F.3d at 6.

       The determination of reasonable suspicion requires consideration of the “totality of the

circumstances” collectively known to the police. United States v. Romain, 393 F.3d 63, 71 (1st

Cir. 2004). Individual circumstances “are not to be dissected and viewed singly; rather they must

be considered as a whole.” United States v. Trullo, 809 F.2d 108, 111 (1st Cir. 1987); see United

States v. Pontoo, 666 F.3d 20, 29 (1st Cir. 2011) (court must “take care not to evaluate facts in

splendid isolation” but “appraise [them] in the context in which they occurred”); United States v.

Ruidiaz, 529 F.3d 25, 29 (1st Cir. 2008) (“reasonableness requires a practical, common sense

determination, a determination that entails a measurable degree of deference to the perceptions of

experienced law enforcement officers”). “A fact that is innocuous in itself may, in combination

with other innocuous facts, take on added significance,” which may culminate in reasonable

suspicion. United States v. Wright, 582 F.3d 199, 212-213 (1st Cir. 2009) (quoting Ruidiaz, 529

F.3d at 30). Hence, arguments that attempt to isolate individual factors and then assert that

suppression is required because no factor by itself justified the decision to stop must fail.

       Application of these principles here demonstrates that Officer Taylor had reasonable

suspicion to stop Leaston-Brown even as of the time he exited his cruiser, on the basis of the

following facts that were known to him at the time, and which are undisputed:

   1. Late one Saturday afternoon in September, as everyone else in Mattapan Square went
      about their ordinary business, Leaston-Brown ran down the street, looking backwards as

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       if in fear, with his right hand in his hoodie pocket, with such haste that he collided with a
       customer outside a supermarket.

   2. After colliding with the customer, Leaston-Brown continued running, cutting through the
      supermarket parking lot, still holding his right hoodie pocket.

   3. As Leaston-Brown ran, Officer Taylor at one point saw a silver object in Leaston-
      Brown’s right hand, which, based on the way he held it, Officer Taylor believed to be a
      firearm.

   4. After looking back and noticing a Boston Police cruiser behind him, Leaston-Brown
      placed the silver object back into his right hoodie pocket.

   5. Leaston-Brown ignored Officer Taylor’s activation of his lights and his “Yo, can I talk to
      you?” invitation, and instead kept running away from the Officer, keeping his right hand
      in his right hoodie pocket

   6. Leaston-Brown ran recklessly and erratically, weaving through heavy traffic on Blue Hill
      Avenue inbound, tripping near the median as he entered the outbound traffic lanes.

   7. Leaston-Brown ignored Officer Taylor’s command to stop, instead reversing direction
      and weaving back through heavy traffic inbound to get away from him.

Based on these factors, Officer Taylor had reasonable suspicion that criminal activity was afoot,

and that Leaston-Brown was armed and dangerous, justifying a stop.

           a. Leaston-Brown’s Nervous Flight, Looking Backwards, and Collision with
              Bystander

       Officer Taylor’s observations of Leaston-Brown’s running down the street nervously,

looking backwards as if in fear as he ran, and running so recklessly that he collided with an

individual standing outside of a grocery store – though not alone enough to amount to reasonable

suspicion of criminal activity – reasonably drew Officer Taylor’s attention, and began a suspicion

that criminal activity was afoot and there was a safety risk to the community. See Illinois v.

Wardlow, 528 U.S. 119, 125 (2000) (“the determination of reasonable suspicion must be based on

commonsense judgments and inferences about human behavior”). Leaston-Brown’s behavior was




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particularly concerning where, as video surveillance demonstrates, there were children present as

Leaston-Brown ran erratically through the streets of Mattapan Square. See Ex. 2 at USAO035-36.

           b. Leaston-Brown’s Running with His Right Hand in His Pocket; Officer
              Taylor’s Glimpse of a Silver Object Held Like a Firearm in His Hand

       Officer Taylor’s observations of Leaston-Brown’s running while keeping his right hand in

his right pocket, holding a silver object in his right hand in a manner suggesting to Officer Taylor

that it was a firearm, returning the object to his right pocket upon seeing police, and continuing to

run holding his hand in that pocket, powerfully support his determination of reasonable suspicion

to stop Leaston-Brown. Based on his training in the characteristics of armed persons, and his

experience, Officer Taylor interpreted those movements as an indication that Leaston-Brown may

be carrying an unholstered firearm in his pocket. See United States v. Dubose, 517 F.3d 119, 122

(1st Cir. 2009) (reasonable suspicion determination upheld based in part on testimony that

individuals “often carry weapons concealed in their waistbands, and, because that is not a very

secure position for a gun, they often keep their hands in their pockets to ensure the gun does not

fall down”); United States v. Hart, 674 F.3d 33, 39 (1st Cir. 2012) (upholding reasonable suspicion

where, among other things, defendant stepped quickly away from police, and “his hand never left

his waistband”). Moreover, his attempts to conceal the item from police contributed to reasonable

suspicion that what he carried was unlawful. See Hart, 674 F.3d at 39.

       Although defendant correctly points out that the First Circuit in Wright found that it was

error to infer on the facts of that case that an individual’s clutching his pocket supported the

inference that his pocket contained a weapon as opposed to other contraband (Motion at 4), this

case is distinguishable because here the officer not only saw clutching of the right pocket, but also

at one point saw the defendant holding the silver object in his right hand in a manner consistent

with a firearm. Moreover, the court in Wright also noted that a Terry stop is justified even if “the

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conduct justifying the stop is ambiguous and susceptible of an innocent explanation” because “the

very purpose of [Terry] stops is to clarify ambiguous situations.” 582 F.3d at 231 (internal citations

omitted). Moreover, here, under the totality of the circumstances, there was ample reason beyond

Leaston-Brown’s holding his right hand in his pocket continuously for Officer Taylor to suspect

that the item in Leaston-Brown’s waistband was a gun – as indeed it turned out to be.

             c. Leaston-Brown’s Efforts at Concealment and Avoidance of Police

       Here, Leaston-Brown’s increasing efforts at concealment from and avoidance of police –

from hiding the object in his hand upon seeing police, to ignoring Officer Taylor’s “Yo, can I talk

to you?” call out, to ignoring Officer Taylor’s subsequent command to stop, and to ultimately

reversing direction to run away from Officer Taylor – powerfully contribute to reasonable

suspicion.

       The First Circuit has acknowledged that an individual’s painstaking concealment of an

object from police view “signaled that what he carried was unlawful” and contributes to a police

officer’s reasonable suspicion of criminal conduct. Hart, 674 F.3d at 39. Thus, Leaston-Brown’s

concealment of the object after he noticed police presence contributes to reasonable suspicion. His

refusal thereafter to heed the police officer’s invitation to speak – while not “without more” 2

sufficient to justify a Terry stop, Florida v. Bostick, 501 U.S. 429, 437 (1991) – serves as one more

data point Officer Taylor could consider in assessing the situation.

       Much more significantly, after Officer Taylor activated his lights, turned onto Blue Hill

Avenue, got out of his car, and shouted, “Boston Police, stop running,” Leaston-Brown reversed


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  Defendant cites to Gunter v. Cicero, 364 F.Supp. 3d 124, 134-135 (D. Mass. March 11, 2019)
and the cases cited therein for the proposition that “Mr. Leaston-Brown’s decision not to accept
that invitation does not permit an inference of criminal activity” (Motion at 6), but does not
acknowledge the “without more” caveat. See Motion at 6.

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direction, and ran in the opposite direction, weaving back through traffic to get away from the

officer. Although Leaston-Brown had been running prior to Officer Taylor’s following him, his

refusal to obey the order to stop, and reversing direction to get away from Officer Taylor, was

reasonably perceived by Officer Taylor as flight from police.3 A suspect’s “refusal to obey the

officers’ order to stop, without a doubt, contributes to reasonable suspicion.” Wright, 582 F.3d at

212. Additionally, the Supreme Court has held that “unprovoked flight upon noticing the police”

contributes to reasonable suspicion. Wardlow, 528 U.S. at 124 (“nervous, evasive behavior is a

pertinent factor in determining reasonable suspicion”; “[h]eadlong flight -- wherever it occurs --

is the consummate act of evasion: [i]t is not necessarily indicative of wrongdoing, but it is certainly

suggestive of such.”); see also Hodari D., 499 U.S. at 623 n. 1 (“That it would be unreasonable to

stop, for brief inquiry, young men who scatter in panic upon the mere sighting of the police is not

self-evident, and arguably contradicts proverbial common sense.”). Here, Leaston-Brown’s

running away from Officer Taylor, to the extent that he reversed direction and weaved through

traffic to get away from him, was reasonably interpreted by him as flight and hence contributed to

his reasonable suspicion. See United States v. Aitoro, 446 F.3d 246, 253 (1st Cir. 2006) (“what is

relevant is not whether [defendant] actually perceived the officers as police officers, but whether

the officers reacted reasonably on seeing him flee”); Perry v. Bordley, 379 F.Supp.2d 109, 115 (D.

Mass. 2005) (even if bicyclist’s actions were innocent, it could have appeared to a reasonable

officer as an attempt at flight).




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  The surveillance video demonstrates that Leaston-Brown also briefly reversed course earlier,
while running along Fairway Street, but then upon seeing the police cruiser coming up with
lights activated turned around and continued towards Blue Hill Ave. This debunks the
defendant’s argument that it is possible he did not see the blue lights activated behind him
(Motion at 6).

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          Notably, it was not just Officer Taylor who found Leaston-Brown’s behavior suspicious.

Officer Joseph-Greene, who had only seen the portion of the interaction at the intersection of

Fairway and Blue Hill Avenue, independently suspected based on his own observations that

Leaston-Brown was carrying a firearm, confirming the objective reasonableness of Officer

Taylor’s suspicion. See Hart, 674 F.3d at 38 (the standard is “objective, such that a reasonable

officer in similar circumstances also would harbor suspicion”).

          Accordingly, even if Leaston-Brown was stopped before the gun fell from his pocket, the

stop was amply supported by reasonable suspicion.

   III.      There Is No Need for an Evidentiary Hearing

          A decision whether to conduct evidentiary hearing is in the “sound discretion of the district

court.” Brown, 621 F. 3d at 57. To obtain such a hearing, the “defendant must show that there are

factual disputes which, if resolved in his favor, would entitle him to the requested relief.” Id. at

57-58 (quoting United States v. Staula, 80 F.3d 596, 603 (1st Cir. 1996). See also Cintron, 724

F.3d at 36 (1st Cir. 2013) (“To obtain an evidentiary hearing, a defendant challenging a warrantless

search must make a sufficient threshold showing that no exception to the warrant requirement

applied to the search. The burden is on the defendant to allege facts, sufficiently definite, specific,

detailed, and nonconjectural, to enable the court to conclude that a substantial claim is presented.”)

(citations and internal quotations omitted); United States v. Calderon, 77 F.3d 6, 9 (1st Cir. 1996)

(upholding refusal to grant evidentiary hearing on motion to suppress where defendant did not

describe the circumstances supporting his assertion, made no proffer of proof relative to any other

facts that might support his assertion, and where government provided competent evidence to

support the district court’s finding); United States v. Smith, 2013 WL 6072876, No. 13-10064-

NMG (D. Mass. 2013) (denying defendant’s motion for evidentiary hearing on motion to suppress



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where defendant relied “on police reports and other government-produced materials for his

submissions and motion” and contested that those facts justified stop rather than contesting the

material facts themselves).

       Here, the defendant has not submitted an affidavit alleging any facts whatsoever, and his

Motion does not raise any material factual disputes, so an evidentiary hearing is unnecessary, and

it is proper for this Court to deny the Motion to Suppress without an evidentiary hearing. See

United States v. Lewis, 40 F.3d 1325, 1332 (1st Cir. 1994) (defendants not entitled to evidentiary

hearing where the facts were essentially uncontested and neither defendant submitted an affidavit

alleging facts indicating that the officer’s discovery of contraband violated the Fourth

Amendment). Accordingly, the government requests that the hearing scheduled for June 11 be

cancelled, or marked as non-evidentiary.

                                        CONCLUSION

       Because the gun and ammunition were lawfully seized pursuant to the plain view

doctrine, and because the stop was justified by reasonable suspicion, the defendant’s Motion to

Suppress should be denied without an evidentiary hearing.

                                             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        Undersigned counsel certifies that this document filed through the ECF system will be
sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants.

                                               /s/ Elianna J. Nuzum
                                               Elianna J. Nuzum
                                               Assistant United States Attorney
Dated: June 3, 2019




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